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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       *
                                               *
      v.                                       * CRIMINAL NO. CCB-17-106
                                               *
DANIEL HERSL                                   *
                                            *******

                                            ORDER

           The pending motions related to the Motion to Vacate (ECF 615) filed by Daniel Hersl

have been reviewed. It is hereby ORDERED that:

      1. Hersl’s motion to rescind (ECF 656), motion for U.S. Attorney to sign (ECF 665),

            motion to recuse (ECF 666), and motion to appoint counsel (ECF 667) are Denied;

      2. Hersl’s motion for extension of time (ECF 668) is Granted;

      3. Hersl’s reply to the government’s response is due August 13, 2021; and

      4. The Clerk shall send copies of this Order to Hersl, to Jane Shott, and to counsel of

            record.



Date: June 8, 2021                                                 /S/
                                                    Catherine C. Blake
                                                    United States District Judge
